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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the                                               May 6, 2021
                                                  Northern District
                                                __________  DistrictofofCalifornia
                                                                         __________

                  United States of America                       )
                             v.                                  )
               CHANDLER TYLER OCHOA
                                                                 )      Case No.
                                                                 )
                                                                 )
                                                                 )
                                                                 )        CR 21-70785-MAG
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  March 13, 2021              in the county of             Santa Clara            in the
     Northern          District of          California       , the defendant(s) violated:

            Code Section                                                   Offense Description
18 U.S.C. § 922(g)(1)                         Felon in Possession of Ammunition




         This criminal complaint is based on these facts:
See affidavit of FBI SA Russell Lacy.




         ✔ Continued on the attached sheet.
         u

                                                                           V5XVVHOO/DF\ ZSHUPLVVLRQ
                                                                                            Complainant’s signature
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                                                                                            Russell Lacy, FBI SA
                            $86$BBBBBBBBBB
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                            $8   $BBBBBBBBBB
                                                                                             Printed name and title

Sworn to before me E\WHOHSKRQH.


Date:     0D\
                                                                                                Judge’s signature

City and state:                          Oakland, CA                       Hon. Kandis A. Westmore, U.S. Magistrate Judge
                                                                                             Printed name and title
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       AFFIDAVIT OF FBI SPECIAL AGENT RUSSELL LACY IN SUPPORT OF

                    THE APPLICATION FOR AN ARREST WARRANT

       I, Russell Lacy, Special Agent with the Federal Bureau of Investigation (FBI), being duly

sworn, hereby depose and state as follows:

       1.      I am a Special Agent with the Federal Bureau of Investigation and have been

since July 2019. I am currently assigned to the San Jose Violent Crime Unit of the FBI’s San

Francisco Field Division. Prior to becoming an FBI Special Agent, I was an IT Project Manager

for the Charlotte Douglas Airport in Charlotte, North Carolina.

       2.      My assignments include investigating individuals who are involved in the illegal

possession and transfer of firearms, violent crimes involving firearms, and narcotics trafficking. I

completed five months of training FBI Special Agent Basic Training program at the FBI

academy in Quantico, Virginia. During my employment with the FBI, I have investigated and

assisted in the investigation of criminal violations relating to firearms and/or narcotics. During

these investigations, I have participated in and utilized the following investigative tools:

conducting physical surveillance, interviewing suspects, writing affidavits for arrest and search

warrants, executing arrest and search warrants, analyzing phone records obtained from pen

registers, trap and trace devices, and physical devices, and collecting and processing evidence.

       3.      This Affidavit is made in support of an application for a warrant to arrest

Chandler Tyler Ochoa (hereinafter “OCHOA”) for a violation of Title 18, United States Code,

Section 922(g) (Felon in Possession of Ammunition). As set forth in detail below, there is

probable cause to believe that on or about March 13, 2021, OCHOA was a convicted felon in

possession of ammunition, with knowledge that he had been convicted of a crime punishable by

imprisonment for a term exceeding one year.

       4.      The information contained in this Affidavit is based upon my training and

experience, my personal knowledge of this investigation, and information provided to me by

other agents and law enforcement officials who have assisted in this investigation and have

experience investigating the violations of firearm laws. This Affidavit is intended to provide

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probable cause to support the issuance of the complaint and arrest warrants and does not set forth

all of the information of which I am aware. The Affidavit is limited to the facts relevant and

necessary to establish probable cause for the requested arrest warrant.

                                      APPLICABLE LAW

Title 18, United States Code, Section 922(g)(1) provides as follows:

               (g) It shall be unlawful for any person—

(1) who has been convicted in any court of, a crime punishable by imprisonment for a term

exceeding one year;

...

to ship or transport in interstate or foreign commerce, or possess in or affecting commerce, any

firearm or ammunition; or to receive any firearm or ammunition which has been shipped or

transported in interstate or foreign commerce

                                      PROBABLE CAUSE

       5.      On March 13, 2021, at approximately 8:45 a.m., officers of the San Jose Police

Department (hereinafter “SJPD”) responded to 572 N 2nd St., in San Jose, California, within the

Northern District of California, on a report of a vehicle accident. The reporting person stated

that a Dodge Charger had crashed into a parked vehicle in front of the above location. The

reporting party stated that the male driver of the vehicle was acting erratic and appeared to be

holding a green rag and was stuffing items into his waistband area. The reporting party stated

that the male driver was possibly concealing a weapon or drugs inside of his waistband area.

Upon arrival, the SJPD officers observed a white Dodge Charger crashed into the rear of a

parked vehicle. SJPD officers observed a male adult matching the description of the driver, later

identified as OCHOA, standing near the vehicle.

       6.      After OCHOA saw the Police, he began to walk away from SJPD officers into the

apartment complex located at 583 N 2nd St. SJPD officers observed OCHOA walking away and

reaching for his front waistband area. OCHOA stopped near some bushes inside of the complex

and retrieved and item from his waistband and dropped it into the bush area. Several citizens

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began to shout and identified OCHOA as the driver of the crashed vehicle. After dropping the

item, OCHOA began to follow verbal commands and walked toward SJPD officers. Based on

OCHOA’s behavior and comments made by the reporting person of a possible weapon, SJPD

officers placed OCHOA into handcuffs for officer safety and later placed him in the passenger

compartment of a patrol car.

       7.      SJPD officers canvassed the bush area near the complex where SJPD officers

observed OCHOA drop an item. While canvassing the area, SJPD officers located a green

handgun sitting on top of the bush area. SJPD officers took photographs of the firearm prior to

collecting it. The firearm was green in color and appeared to be a Glock style semi-automatic

pistol. The firearm did not have any serial numbers or any identifying markers. The firearm did

not have a magazine inside of it when SJPD officers found it.

       8.      OCHOA became very quiet and nervous when he observed the SJPD officers

walk to the area where the firearm was located. After locating the firearm, SJPD officers placed

OCHOA under arrest. After a records check revealed that OCHOA was on parole, An SJPD

officer performed a parole and incident to arrest search of the suspect. The search revealed a

plastic bag containing a large amount of a white crystallized substance (later weighed on a digital

scale and revealed to be 29.7 grams). The search also revealed one (1) 9mm round of Luger

ammunition and a plastic jar containing several prescription pills. All these items were found in

OCHOA’s left front pants pocket.

       9.      OCHOA was transported and booked into the Santa Clara County Jail. After

booking OCHOA, SJPD officers conducted a search of the prisoner compartment area of the

patrol vehicle OCHOA had been transported in. SJPD officers located a Glock 24 round

magazine stuck near the feet area of the floorboard. The magazine had 15 rounds of 9mm

ammunition inside of the magazine. There was nobody else placed inside of the prisoner area of

the patrol vehicle besides OCHOA. SJPD officers also conducted a search of the prisoner

compartment at the beginning of the shift prior to the contact with OCHOA and the magazine

was not there prior to the contact with OCHOA.

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                                  PRIOR FELONY CONVICTIONS

       10.     A review of OCHOA’s criminal history revealed that OCHOA had multiple prior

felony convictions at the time of his March 13, 2021 arrest. For example, On June 5, 2018,

OCHOA was convicted of a violation of California Penal Code Section 460(A) (Burglary: First

Degree), for which he was sentenced to two (2) years in prison. On January 17, 2020, OCHOA

was convicted of a violation of California Vehicle Code Section 10851(A) (Taking Vehicle

Without Owner’s Consent) for which he was sentenced to sixteen (16) months in prison.

                              AMMUNITION SIEZED FROM OCHOA

       11.     The officers seized 16 rounds of 9mm Luger ammunition in total from the

OHOA’s pocket and the magazine found in the patrol car. Based on my training and experience,

I know that the ammunition recovered by SJPD was manufactured outside the state of California,

and therefore there is probable cause to believe the ammunition crossed state lines affecting

interstate commerce.

                                            CONCLUSION

       12.     Based upon the foregoing evidence, there is probable cause to believe that on or

about March 13, 2021, OCHOA violated Title 18, United States Code, Section 922(g) (Felon in

Possession of Ammunition). As such, I respectfully request that the court issue a criminal

complaint and arrest warrant for OCHOA.

                                                             V5XVVHOO/DF\ ZSHUPLVVLRQ
                                                            _________________________
                                                            Russell Lacy
                                                            Special Agent
                                                            Federal Bureau of Investigation
Subscribed and sworn to before me this ____
                                        WK Day of May 2021.


_________________________________
THE HONORABLE KANDIS A. WESTMORE
UNITED STATES MAGISTRATE JUDGE


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       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT                INFORMATION                  INDICTMENT                       Name of District Court, and/or Judge/Magistrate Location
                                                                SUPERSEDING                        NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                                 SAN JOSE DIVISION
 Felon in Possession of Ammunition, in violation of Title 18,          Petty
 United States Code, Section 922(g)(1)
                                                                       Minor              DEFENDANT - U.S                                      May 6, 2021
                                                                       Misde-
                                                                       meanor
                                                                                         CHANDLER TYLER OCHOA
                                                                       Felony
                                                                                             DISTRICT COURT NUMBER
PENALTY:      Maximum term of imprisonment of ten (10) years; maximum
              $250,000 fine; maximum term of supervised release of three (3)
              years; mandatory $100 special assessment fee; and criminal
              forfeiture
                                                                                             CR 21-70785-MAG
                                                                                                                       DEFENDANT
                              PROCEEDING                                                       IS NOT IN CUSTODY
                                                                                                 Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                              1)       If not detained give date any prior
                                        FBI
                                                                                                 summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                      2)       Is a Fugitive
       give name of court

                       Santa Clara County Superior Court                                3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                               IS IN CUSTODY
                                                                                        4)       On this charge
       this is a reprosecution of

                                                                                                                                  }
       charges previously dismissed                                                     5)       On another conviction
       which were dismissed on motion                             SHOW                                                                      Federal         State


                                                         }
       of:                                                      DOCKET NO.
                                                                                        6)       Awaiting trial on other charges
            U.S. ATTORNEY               DEFENSE
                                                                                                  If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                           }
                                                                                                                 Yes            If "Yes"
       pending case involving this same                                                      Has detainer
                                                                                                                                give date
       defendant                                                MAGISTRATE                   been filed?         No             filed


                                                         }
                                                                 CASE NO.
       prior proceedings or appearance(s)                                                    DATE OF
                                                                                             ARREST
                                                                                                                       Month/Day/Year
       before U.S. Magistrate regarding this
       defendant were recorded under                                                         Or... if Arresting Agency & Warrant were not

                                                                                                                                      Month/Day/Year
Name and Office of Person
Furnishing Information on this form                STEPHANIE M. HINDS
                                                                                             DATE TRANSFERRED
                                                                                             TO U.S. CUSTODY
                                                                                                                           
                                  U.S. Attorney          Other U.S. Agency

Name of Assistant U.S.                                                                            This report amends AO 257 previously submitted
Attorney (if assigned)                        Jeffrey A. Backhus
                                                        ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                NO PROCESS*                  WARRANT         Bail Amount: No bail.
        If Summons, complete following:
             Arraignment    Initial Appearance                                  * Where defendant previously apprehended on complaint, no new summons or
                                                                                warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                Date/Time:                                 Before Judge:

        Comments:
